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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
      v.                              )     CRIMINAL ACTION NO.
                                      )       2:10cr186-MHT
MILTON E. McGREGOR,                   )            (WO)
THOMAS E. COKER,                      )
LARRY P. MEANS,                       )
JAMES E. PREUITT,                     )
HARRI ANNE H. SMITH,                  )
JARRELL W. WALKER, JR.,               )
and JOSEPH R. CROSBY                  )

                                    ORDER

      It is ORDERED that defendants Thomas E. Coker’s,

James E. Preuitt’s, Jarrell W. Walker, Jr.’s, and Joseph

R.    Crosby’s     motions     to     adopt    defendant     Milton       E.

McGregor’s renewed motion to suppress wiretap evidence

(Doc. Nos. 1706, 1707, & 1712) are granted.

      DONE, this the 19th day of August, 2011.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
